_.' oow

» " Raturn To' _

F|DEL\T\ NAT|ONAL TlTLE !NSU...'~\P.CE CO

Returo To:
PIAZA HQME MORTGAGE lNC.

5090 SHORE-|AM F’lACE, BTE 208
SAN DlEGO. CA 52122

Prepared By:
PLAZA HOME MORTQAGE, |NG.

5090 sHoRE)-lAM Pu\ce#zoe \/
sAN n\EGo cA 92122

lspm Abov! 'l`hil Linc Por boarding Dat\]

MORTGAGE

 

 

 

LOA NO~? _ _
N MWZS Phone: 1-888-879~6377

DEFINIT]ONS

Words used |n multiple sections of this document are defined below and other words are defined in
Sections 3. il, 13. 18. 20 and 21. Cartain rules regarding the usage of words used in this document arc
also provided in Section 16.

(A) "Security Inscrumont" means this document, which is dated sE='rBABER 14. 2007 ,
together with all Riders to th|s document

(B) "Borrowox" is _
MlKEA. SANT|L!ANES AND DEBORAH L SANT\LLANES, HUSBAND AND WlFF_

Borrower is the mortgagor under this Secur|ty instnunent.

l noon 2007135144

/21lm7 0¢56€" P 1 117
cn.~sn. n num::°‘°r °

.\4 ~_

NEW MEX|CO-Slnglo Farnily-Fannts Maleaaddo Mao UN|FORM tNSTRUME\|T W\TH MERS Form 3032 1/01
V-€A(NM) (osto) ,,.°, 1 d 18 mma annum simms mc. mANMNEw cos/ost

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 W r§f.|, A

(C) "MERS" is Mortgage Electronic Registration Systems. lnc. MERS is a separate corporation that is
acting solely as a nominee for Lender and Lender's successors and assigns. MBRS is the mortgagee
under this Scctuity Instroment. MERS is organized and existing under the laws ot Delaware, and has an
address and telephone number of P.O. lion 2026. Flint. MI 48501~2026. tel. (888) 679-MERS.

|i m ll

LH-Ocild©£ MQRTGAGE, INC.

Lender is a nomination

organized and exhting under the laws of cALlFortNiA

Lender's address is

5090 SHORH'iAM PLACE, BTE. 205. SAN DlE@, CA 92122

(B) "Note" means the promissory note signed by Bormwer and dated sEPrBJtBER 14. 2007
'l`he Note states that Bormwer owes Lendor
TWQHUNDREDEGHTTHOUSANDANDNOI‘|OOXXXXXXXXXXXXXXXXXXXXXXXX

Dollars
(U.S. $ zoa,ooo.oo ) plus interest Borrower has promised to pay this debt in regular Periodic
Payments and to pay the debt in full not later titan , ocrosERot, 2037 . Tltis Security

instrument secures a rmxtmum principal amount of up to 150% oi` the amount of the Note. _
(F) "Property‘ means the property that is described below under the heading "Transfer of Rights in the
Property. "

(G) 'Loan' means the debt evidenced by the Note, plus lntet‘est. any prepayment charges and late charges
due under the Note, and all sums due under this Security Instrument, plus interest

ti-I) "Riders“ means all Riders to this Securlty instrument that are executed by Bon'ower. The following
Rlders are to be executed by Borrower [checlt box as applicab|e]:

l:l Adjustabte true nder t:l condominum aider |:i 1-4 Fmty aider
l:l Graduateti Payment Rlder l:] l’ianned Unlt Development Rlder l:] Biweeltly Pnyment Rider
I:] Balloon Rider :I Rate lmprovement Rider 13 Seoond Homc Rider

1:1 owe spector

(I) "Appiicable Law' means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable dnal.
non-appealable judicial opinions.

(J) ”Community Association Duos, Foos, and Asaemments" means all,dues, fees. assessments and other
charges that are imposed on Borrower or the Property by a condominium associationl homeowners
association or similar organization

Ct{) “Biectronic ands Transi`er" means any transfer of funds. other than a transaction originated by
check. draft, or similar paper instrument. which is initiated through an electronic terminal, telephonic
instrument. computer, or magnetic tape so as to order, tnstntct. or authorize a financial institution to debit
or credit an account Such tenn lnciudes, butts not limited to, pointot-sale transfers, automated teller
machine transactions. transfers initiated by telephone. wire transfers, and animated clearinghouse
transfers

(L) "Esorow Itoms" means those items that are described in Section 3,

V-sA(NM) mm mo 2 et 16 Fom\ 3032. 1I01

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 Page 2 Of 22

(M) "Mlscellaneous Prooeeds“ means any corn ensation, settlement, award of damages, or mceeds paid

by any third party (other than insurance procee paid trader the coverages described la Se on 5) for: (i)

damage tol or destruction of. the Property; (ll) condemnation or other taking of all or any part of the

Property'. (ili) conveyance in lieu of eondemnatlon; or (iv) nisrepresentations of, or omissions as to, .the

value and/or condition of the Property.

t(li\~l) “Mortgage Insurnnoo“ means insurance protecting Lender against the nonpayment ot`, or default on,
e Loan.

(0) "i>eriodio Payment' meara the regularly scheduled amount due for (i) principal and interest under the

Note. hills 09 any amounts under Sectlon 3 oi' this Securityinstrument.

(P) “RESPA' means he Reai Estate Settlement_l’rocedures Act (12 U.S.C. S_ection 2601 et seq.) and its

implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to

time, or any additional or successor legislation or regulation that govems the same subject matter. As used

in this Securlty instrument "RESP " refers to all requirements and restrictions that are imposed in regard

to a "federaii related mortgage ioan" even if the Loan does not qualify as a "federaliy related mortgage

loan" under ESPA.

(Q) "Sucoessor in interest of Borrower” means any party that has tatum title to the Property, whether or

not that party has assumed Borrower’s obligations under the Note and/or this Securlty instrument

TRANSFER OF RIGHTS IN 'I'HEPRO¥ERTY

This Security Instnunent secures to Lender: (i) the repayment of the Loan, and all renewais,
extensions and modifications of the Note; and (ii) the performance of Borrower‘s covenants and
agreements under this Securlty instrument and the Note. For this purpose. Borrower does hereby
mortgage, grant and convey to MERS (solely m nominee for Lender and lender's successors and assigns)
and to the successors and assigns of M`ERS, the following described property located ln the

CCUNTY Of BERNAL|LLQ 1
['l`ype of Rccot'dlng Jnrlsdldlonl |Narno oi'Rocordlng ]nrisdlcllot\]

BEE COMPLE¥E LHAL DESCH|FI'|ON I.CRIBED lN B(H|B|T "A' AT\'ACHED HERE|`O AND MADEA FARF HEZB!F.

Pamel lD Nurnber: _ which currently has the address of
6215 SWETWATER DR|VE NW [Sireetl
nteuouenoue lCio'l . New Mexieo e1tzo~ lzw Codel
("Property Address"):
v-eA(NM) estop hen 3 of 16 Form 3032 1/0.1

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 Page 3 Of 22

‘ EXH|BIT "A"

Lot numbered Twelve (12) in B|ock numbered Three-B (3~B} of the Plat of Lots 1
through 20, Block 3A, and Lots 1 through 20, Block 38 of Volcano Cllffs Subdivision
Unit No. 3, situate within Section 26, Townsh|p 11 North, Range 2 East, N.M.P.Nl..
Bernali|lo County, New Niexico, as the same is shown end designated on the plat of
said subdivision, filed in the Office of the County Clerk of Bernaiii|o County, New
Mexico, on March- 29, 1995, in Plat Book 95C, folio 113.

MClmc

ease 13-10624-t7 Doc 35-1 Filed 05/31/13 Em_ere_q_05/31/18 10:44:34 Page 4 of 22 b

TOGEI‘HER Wi‘i'i-l all the improvements now er hereaiier erected on the property. and all
easemenis, appurtenances. and fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security lmtmmer\t. All of the foregoing is referred to tn this
Security instrument as the "Property." Bonower understands end agrees that MERS holds only legal title
to the interests granted by Bormwar in this Securlty instrument, but. if necessary to comply Witb law or
custom, MERS (as nominee for Lender and Lender's successors and assigns) has the right: to exercise any
or all of those interesis, including, but not limited to, the right to foreclose and sell the Property', and to
lake any action required of Lcnder including, but not limited to, releasing and canceling this Security
Instrument.

BORROWER COVBNANTS that Bom)wer br lawfully selsed of the estate hereby conveyed and has
the right to mortgage, grant and convey the Property and that the Fmperty is unenctuubered, except for
encumbrances of reconl. Borrower warrants and will defend generally the title to the Property against all
claims and demands, subject to any encumbrances of `record.

Ti-llS SECURiTY INS'I'RUMENT combines uniform covenants for national me and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security insmunent covering real
P'°Pmy-

UNIFORM COVENAN'I$. Borrower and Lender covenant and agree as follows

1. Payu`)cot of Principal, litterest, Bsorow Items, Prepaymeut Cherges, and Late Cherges.
Borrower shall pay when due the principal of, and interest on. the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Iterns
pursuant to Section 3. Payruents due under the Note and this Security instrument shall be made in U.S.
currency. However, if any check or other instmment received by Lender as payment under the Note or this
Seqrrity instrument is returned to Lender unpaid. Lender may require that any or ali subsequent payments
due under the Note and this Security Instrument be made in one or more of the following forms, m
selected by bender: (a) cash; (b) money order; [c) cerdiied check, bank checlt. treasurer's check or
cashier's checlt. provided any such check is drawn upon an institution whose deposits are insured by a '
federal agency, instrumentality. or entity: or (d) Electronic Funds Transfer.

Paymems are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by bender in accordance with tile notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the loan current Leuder may accept any payment or partial payment insul`.ticlent to bring the i..oan
current. without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the futurc, but Lcrtder is not obligated to apply such payments al tire time such pq'ments are
accepted if each Periodlc Payment is applied as of its scheduled due date. then bender need not pay
interest on unappiied funds. Leuder may hold such unapplied'ftrnds until Borrower makes payment to bring
the Loan current. if Borrower does not do so within a reasonable period oi'time, l.ender shall either apply
such funds or return them to Borrower. if not applied earlier. such funds will be applied to the outstanding
principal balance under the Note immediately prior to foreclosure No offset or claim which Borrower
might have now or in the future against Lender shall relieve Borrower from making payments due under
the Note and this Security instrument or performing the covenants and agreements secured by this Security
Itstrutuent.

V-BA(MJ|) tostoi reactions Furm 3082 1/01

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 Page 5 Of 22

2, Appiicetior'r of Payments or Proceeda ibrcept as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Perlodic Payment in the order in which lt became due. Any remaining amounts
shall be applied first to late charges second to any other amounts due under this Security Instrutnent. and
then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent ioriodic Payment which includs a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
tire late charge if more than one Periodic Payment is outstandingl Londer may apply any payment received
from Bor'rower to the repayment of the Periodlc Payments if, and to the extent that, each payment can be
paid in full. To the extent that any excess extent after the payment is applied to tire full payment ol' one or
more Periodic Paymeuts, such excess may be applied to any late charges due. Voluntary prepayments shall
be applied first to any prepayment charges and then as described in the Note.

Any application of payments. insurance proceeds. or Mbcellaneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or change the amount. of the Perlodic Payments.

3. Funde for Bscrow Items Borrower shall pay to lender on the day Periodic Paymeuts are due
under the Note. until the Note is paid in full. a sum (tlte ”Funds.") to provide for payment of arummts due
for: (a) taxes and assessments and other iterm which can attain priority over this Security Instrument as a
lieu or encumbrance on the Property; (b) leasehold payments or ground rents on the P_roperty. if any; (c)
premiums for any and all insurance required by Lender under Section S; and (d) Morigage insurance
premiums, if any, or any sums payable by Borrower to lender in lieu of the payment of Mortgage
insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
licms." At origination or at any time during tie term of the Loun, I.ondcr may require that Commrmity
Association Due.s, Feee, and Assessments. if any, be escrowed by Borrower, and such dues, fees and
assessments shall be an Escrow lteot. Borrower shall promptly furnish to lender all notices of amounts to
be paid under this Sectlou. Borrower shall pay l.endor the Funds fur Escrow ltems unless lender waives
Borrower's obligation to pay the Funds for any or all Escrnw ltems. i.ender may waive Borrower's
obligation to pay to Leuder thds for any or all Escrow Items at any time. Any such waiver my only be
in Writing. In the event of such walver, Borrower shall pay directiy. when and where payable, the amounts
due for any Escrow Iterus for which payment of Funtk has been waived by lender and, if Lender requires,
shall ftu'nislt to Lender receipts evidencing such payment within such time period as Lender may require.
Borrower's obligation to make such payments and to provide receipts shall for all purposes be deemed to
be a covenant and agreement contained in this Securlty Instrurnent. as the phrase "covenant and agmement"
is used in Section 9. if Bon'ower is obligated to pay Escrow Items directiy. p\usuant to a waiver. and
Borrower fails w pay the amourn due for an Bscrow Item, Lender may exercise its rights under Secuon 9
and pay such amount and Borrower shall then be obligated under Sectlon 9 to repay to Lender any such
amount. bender may revoke the waiver as to any or ali Escrow items at any time by a.notice given in
accordance with Secllou 15 and, upon such revomdon. Borrower shall pay to Leuder all Funrls, and in
such amounts, that are then required under this Sectlon 3.

V-BA(NM) tvstoi tim 5 or 15 Form 3032 tl01

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entet’ed 05/31/18 10244:34 Page 6 Of 22

Lenthr may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
the Funds at the time specilied older RESPA. and (b) not to exceed the maximum amount a lender can
require under RESPA. Lender shall estimate the mount of Funds due on the basis of current data and
reasonable estimates of expenditures of future F.scrow ltema or otherwise in accordance with Applicable
Law.

'l'he Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality. or entity (including l.,ender, if l..ender is an institution whose deposits are so insured) »or in
any Federal Home Loan Banlt. Lender shall apply the Fttnds to pay the Escrow items no later than the time
speciiied under RESPA. Lender shall not charge Borrower for holding and applying the Funds. anmraliy
analyzing the escrow account. or verifying the Escrow ltems. unless lender pays Borrower interest on the
l"unds and Appllcabie Law permits Lender to make such a charge. Unless an agreement is made in writing
or Appllcable Law requires interest to be paid on the Fuads. Lender shall not be required to pay Borrower
any interest or earnings on the anda. Borrower and Lender can agree in writing, however, that interest
shall be paid on the I"unds. Lender shall give to Borrower, without charge, an annual accounting of the
Funds as required by RESPA.

lf there is a surplus of Funris held in escrow, as defined under RESPA. lender shall account to
Borrower for the excess funds in accordance with RESFA. lf there is a shortage of Funds held in escrow.
as defined under RESPA. Lender shall notify Borrow'er as required by RESPA. and Borrower shall pay to
lender the amount necessary to make up the shortage rn accordance with RESPA, but in no more than l_Z
monthly payments ll' mere is a deficiency of Funds held in escrow, as delined under RESPA, Lender shall
notify Bom)war ns required by RBSPA, and Borrower shall pay to bender the amount necessary to make
up the deficiency in accordance with RBSPA, but in no more titan iZ monthly payments

Upon payment in full of all sums secured by this Securlty lnstnrment, lends shall promptly refund
to Borrower any Funds held by Leuder.

4. Charges; Liens. Borrower shall pay all taxes. assessments charges finee, and iruposttious
attributable to the Property which can_ attain priority over this Security irstrument, leasehold payments or
ground rents on the Pmperty, if any, and Community Association Dues Fees. and Assessments. if any. 'I`o
the extent that these items are Escrow items, Bon'ower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this _Sectutty instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so long as Borrower is performing such agreement (b) contests the lien in good faith
by. or defends against enforcement of the lien ln. legal proceedings which in Lender‘s opinion operate to
prevent the enforcement of the lien while those proceedings are pendlng, but only until such proceedings
are coocludcd‘. or (c) secures from the holder of the lien an agreement satisfactory to bender subordinating
the lien to this Security Instrument. Ii` lender determines that any part of the Property is subject to a lien
which can attain priority over this Security irtstmme.nt, Lender may give Borrower a notice identifying the
lien. Within 10 days of the date on which that notice is given. Borrower shall satis® the lien or take one or
more of the actions set forth above in this Section 4.

Lender may require Bon'ower to pay a one-time charge for a real state tax verification and/or
reporting service used by Lender in connection with this l.oan.

V-BA(NM) 9510) PIQ\ li vt 13 R)t’m 3032 1101

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 Page 7 Of 22

S. Property Insurance. Borrower shall keep the improvements now existing qr hereafter erected on
the Property insured against loss by tire. hazards included within the term "extended coverage." and any
other hazards including. but not limited to, earthquakes and lloods, for which Lender requires insurance
'l`lris insurance shall be maintained in the amounts (including deductible levels) and for the periods that
Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
the Loan. The instnance carrier providing the insurance shall be chosen by Borrower subject to Lender's
right to disapprove Borrower's choice, which right shall not be exercised unreasonably Lender may
require Borrower to pay, in connection with this Loan, either. (a) a one-time charge for ilood zone
determination, certitieetion and tracking services; or (b) a one-time charge for tlood zone determination
and certiocatton services and subsequent charges each time remapptngs or similar changes occur which
reasonably might affect such determination or certification Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agency in connection with the
review of any flood zone determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described ubove, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense Lender is under no obligation to purchase any
particular type or amount of coverage Therefore, such coverage shall cover Lender, but might or might
not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk.
hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained. Any amounts disbursed by lender under this Section 5 shall
become additional debt of Borrower secured by this Security lnstrument. Ti\ese amounts shall bear interest
attire Note rate from the date of disbursement and shall be payable, with such lnterest, upon notice from
Lender to Borrower requesting payment

All insurance policies required by lender and renewals of such policies shall be sti)ject to Lender's
right to disapprove such policies, shall include a standard mortgage clause. and shall name Lender as
mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
certificates If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal notices. lt Borrower obtains any form of insurance coverage, not otherwise required by Lender,
for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
shall name Lender as mortgagee and/or as an additional loss payee

in the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
may make proof of loss if not made promptly by Bonower. Unless Lender and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by l.ender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender's security is not lessened During such repair and restoration period, Lender shall have the right to
hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender's satisfaction. provided that such inspection shall be undertaken
pronptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
ot` progress payments as the work is completed Unless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. ll`
the restoration or repair is not economically feasible or Lender's security would be lessened, the insurance

v-eA(NM) tom wm m rs Form aoaz 1101

CaS€ 18-1_0624-'[7 DOC 35-1 Fi|€d 05/31/18 Entet’ed 05/31/1_8 10244234 Page 8 Of 22

proceeds shall be applied to the sums seemed by this Securlty Instrument, whether or not then due, with
the excess. if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insin'ance
claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
period will begin when the notice is given. ln either event, or if Lender acquires the Property under
Section 22 or -'otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance '
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument. and
(l)) any other of Borrower‘s rights (other than the right to any refund,of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to tire
coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or
to pay amounts unpaid under the Note or this Security lnstrtment, whether or not then due.

6. Occupancy. Borrower shall cccupy, establish, and use the Property as Borrower‘s principal
residence within 60 days after the execution of this Security Instrument and shall continue to occupy the
Property as Borrower's principal residence for at least one year after the date of occupancy. unless Lender
otherwise agrees in writing, whid\ consent shall not be unreasonably withheld, or unless extenuating
circumstances exist which are beyond Borrower's control

7. Preservation, Maintenanoe and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit Waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition Unleas it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower s`hall
promptly repair the Property if damaged to avoid further deterioration or damage If insurance or
condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
progress payments as the work is completedl lt" the insurance or condemnation proceeck are not sufiicient
to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of
such repair or restoration

Lender or lts agent may make reasonable entries upon and inspectiom of the Property. lt` it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave materially false, nnsleadlng, or inaccurate information or statements to Lender
(or failed to provide Lender with material information) in connection with the Loan. Material
representations include. but are not limited to, representations concerning Borrower's occupancy of the
Property as Borrower’s principal residence.

9. Protection of Lender*s Interest in the Property and Rights Under this Security Instrument. If
(a) Borrower falls to perform the covenants and agreements contained in this Security Instrument. (b) there
is a legal proceeding that might significantly aii`ect Lender's interest in the Property and/or rights under
this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for

V-BA(\\M) (05103 hansons Fonn 3032 1/01

_C_aS€ 18-10624-'[7 DOC 35-1 _ Filed 05/31/18 Enter_ed 05/31/18 10244:34 Page 9 Of 2__2

enforcement of a lien which may attain priority over this Securlty Instnrment or to enforce laws or
regulatlor\s], or (c) Borrower has abandon the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
Instrument, lnclu ing protecting and/or assessing the value of the Property, and seeming and/or repairing
the Pmperty. Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien
winch has priority over this Seourity lnsuument", (b) appearing in court; and (c) paying reasonable
attomeys' fees to protect its interest in the Property and/or riggs under this Securtty lnstrument, including
its secured position in a bankruptcy proceeding Securing Property lncludes, but is not limited to,
entering the Property to make rnpairs, change locl<s, replace or board up~doors and windows, drain water
fmm pipes, eliminate building or other code violaqu or dangerous conditions. and have utilities turned
on or oti`. Aithough Lender may take action urrler this Section 9, Lender does not have to do so and is not
under any duty or obligation to do so. lt is agreed that Lender incurs no liability for not taking any or all

actions authorized under this Section 9. ‘
Any amounts disbursed by Lender wider this Section 9 shall become additional debt oi` Borrower

secured by this Security instrument These amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such lnterest, upon notice from Lender to Borrower requesting
payment

if this Securlty instrument is on a leasehold. Borrower shall comply with all the provisions of the
leaee. lf Borrower acquires fee title to the Prollmy, the leasehold and the fee title shall not merge unless
Lender agrees to the merger in writing

10. Mortgagc lawrence If Lender required Mortga§; lnsurance as a condition of making the hoan,
Borrowersilall pin the premiums required to maintain the engage lnstu'ance in elfect. If, for any rearon,
the Mortgage insurance coverage required by lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain
covers e substantially equivalent to the Mortgage Instu'ance prev oust in effect, at a cost substantially
eq ` .ent to the cost to Borrower of the Mortgage huualce previously in effect, from an alternate
mortgage insurer selected by tander. if substantially equivalent Mortgage insurance coverage is not
available, Borrower shall continue to pay to Lender the amount of the separately designated payments that
were due when the irwrrance coverage ceased to be in el]`ect. Lender will acre , use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage [nsurance. Su loss reserve shall be
non-refrmdable, notwithstanding the fact that the Loan is rltimately paid in full. and Lender shall not be
required to pay Borrower any interest or earnings on such loss reserve Lender can no longer require loss
reserve payments il' Mortgage Insurance coverage (in the amotmt and for the period that Lender requires)
provided b au insurer selected by Lender again becon\ec uvailable, is obtained. and Lender requires
separately esignated ayrnents toward the premiums for Mortgage insurancel lf Lender required Mortgage
Insnranoe as a condit on of making the Loan and Borrower was required to make separately designated
payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums re ed to
maintain literth Iusurance in effect, or to provide a non-refundable loss reserve, until oder's
requirement for ortgage lnsurance ends in accordance with any written airoement between Borrower and
Lender providing for such termination or until termination h required pplicable Law. Nothing in this
Sect‘ron 10 affects Borrower's obligation to pay interest at the rate provt ed in the Note.

Mortga e insurance reimburses Lender (or any entity that purchases the Note) for certain losses lt
gym incur Borrower does not repay the loan as agreed. Borrower isnot a party to the Mortgage

ance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time. and ma
enter into agreements with other parties that share or modify their risk, or reduce lomes. These agreemen
are antenna and conditions that are satbfactory to the mortgage insurer and t_he other party (or pnrties)' to

V-&A(NM) nrs'to) nga a ar 15 Fotm 3032 1101

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 Page 10 Of 22

these ements. These agreements may require the mortgage insurer to make payments using any source
oi’ fun s that the mortgage insurer may have available (which may include l`tutds obtained from Mortgage
insurance premiums}.

As a result of these agreements. Lender. any purchaser ot` the Note, another lnsurer. any reinsurer,
any other entity. or any alliliate of any of the foregoing may receive (direct|y or indireciiy) amounts that
derive from (or might be characterized as) a portion o Bot'mwer's payments l'or Mcrtgage Imurance. trt
exchange for sharing or modifying the mortgage insurin's rlsit, or reducing losses li` such agrseruent
provides that an amliate of Lender takes a share of the insurer's risk in exchange for a share of the
premiums paid to the lnsurer, the arrangement is chen termed "captive relosurance." Furiher:

, (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Ins\rrance, or any other terms of the Loon. Sucb agreements will not.increeso the amount
Borrower will owe for Mortgage lnsurance, end they will not entitle Borrower to any refund

(b) Any such agreements will not aii'cct the rights Borrower has - if any - with re oct to the
Mortgage Instiranee under the Hcmeowners Proteetion Act of 1998 or any other |aw. 'is'§ese rights
may include the right to receive certain disclosures, to request and obtain cancellation of the
Mortgago Insurance, to have the Mortgage insurance terminated automaticaliy, and/cr to receive a
refund pfo any Mortgogc Insuranco premium that wore unearned st the time of such cancellation or
termina n.

11. Aasignmoot of Miscellaueous Prooeedo; Forfolturo. All Mbcellaneous l’roceeds are hereby
assigned to and shall be paid to Lender`

ll the Property is damaged. streit Miscetlaneom Proceeds shall be applied to restoration cr repair of
the Prope . if the restoration or repair is economically feasible and Lender's security is not iessened.
Durtn so repair and restoration period, Lender shall have the right to hold such Mlscellaneous Proceeds
until ender has had an op crtunity to inspect such Property to ensure the work has been completed to
Lender's satisfaction, prth ed that such inspection shall be undertaken promptty. Lender may pay for the
repairs and restoration in a single disbursement or in a series of progress payments as the work is
completed Uniess an agreement is made in writing or Appllcable Law requires interest to be paid on such
Miscel|aneous Proceeds, Lender shall nut be required tc pay Borrower any interest or earnings on such
Miscellaneous Prooeeds. if the restoration or re r is not economically feasible or Lender's security would
be lessened. the Mlscelianeous Ptoceods shall e applied to the sums secured by this Security Irstrument,
whetheror not then due, with the excess if any, paid to Borrower. Sucb Miscelianeous Proceeds shall be
applied in the order provided for in Section 2.

ln the event cf a total mldog. destniction, or loss in value of the Pro erty, tire h/liscellaneous
Proceetls shall be applied to tire sums secured by this Seeurity lnstmment. wire er or not then due, with
the excess. if any, paid to Borrower.

In the event of a partial taldng, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the artlal tlctng. dostruction, or loss in value is omni to or
greater than the amount of the sums secured this Seeurlty Instrurnent immediately before e partial
taldng, destruction. or loss in value, unless Borrower and Lender otherwise agree in writtng, the sums
secured by this Security Instrument shall be reduced by the amomt of the Mbcellaneons Froceerls
multiplied by the following fraction: (a) tire total amount of the sums secured immediately before tire
partial taiting, destruction. or loss in value divided by (b) the i`alr maritetvalue of the Property immediately
before the partial taking, destruction or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking. destruction. or loss in value of the Properiy in which the fair market
value of tire Property immediately before the partial nlring, destruction, or loss in value is less than the
amount of the stmts secured immediately before the taking. destruction, or loss in value, unless
Borrower end Lender otherwise agree in writing, the lscellaneous Proceeds shall be applied to the sums
secured by this Security lnstrrunent whether cr not the sums are then due.

v-GA(NM) tosroi mt 10 or re Form 3032 1101

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Erltei’ed 05/31/18 10244:34 Page 11 Of 22

if the Propet'ty is abandoned by Borrower, or it, alter notice by Lender to Borrower that the
Opposing Party (as defined in tire next sentence) offers to make an award to settle a claim l`or damages,
Borrower fails to respond to Lender within 30 days etter the date tile notice is given. Lender is authorized
to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
sums secured by this Security Instttunent, whether or not then due. "Opposing Party" mens the third party
that owes Borrower Mtscellaneous Prot:eeds or the party against whom Borrower has a right of action in
regard to Miscellaneotn Proceeds.

Borrower shall be in default if any action or 1pl.ruceeding. whether civil or criminal, is begun that, in
Lender's judgment, could result in forfeiture of e Property or other material impairment of Lender's
interest ln the Pmperty or rights under this Security lnstrument. Borrower can cure such a default and, if
acceleration has occurred, reinstate as provided in Section 19. by causing the action or proceeding to be
dissolved with a ruling that, in Lender‘s judgment. precludes forfeiture of the Pmperty or other material
impairment of Lender's interest in the Property or rights under this Seourity Insttument. The proceeds of
atty award or claim for damages that are attributable to the impairment of Lender's interest in the Property
are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for itt Sectlon 2.

12. Borrower Not Released; Forbeeranoe By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sunn secured by this Security lnstrument granted bgol.ender
to Borrower or any Snccessor in lnterest of Borrower shall not operate to release the liability of nower
or any Suocessors in lnlerest of Borrower. Lender shall not be required to commence proceedings against
any Suocesor in Interest of Borrower or to refuse to extend time for p ent or otherwise modify
amortization of the sums secured by this Security Instrttment by reason of any and made by the ori nal
Borrower or any Successors in Interest of Bom>wer. Any forbearance by Lender in exercising any rig t or
remedy including. without limitation, Lender's acceptance of payments from third persons. entities or
Successors in lnterest of Borrower or in amounts less than the amount then due, shall not be a waiver of or
preclude the exercise of any tight or remedy.

13. Joint and cheral Liabiiity; Cooigners, Suooossors and Assigns Bonnn. Borrower covenants
and agrees that Borrower's obligations and liability shall l)e joint and several. However. any Borrower who
oo-signs this Security lnstrument but does not execute the Note ~(a “co-signer"): (a) is reo-signing this
Securtty histrurnent only to rnortga e, grant and convey the oo~signer's interest in the l?ro ert under the
terms of this Seortrity lnstntment; ) is not personally obligated to pay the sums secured gy this Security
instrument: and (c) agrees that lender and any other Bonower can agree to etttend. modify, forbear or
make any accommodations with regard to the terms of this Securlty lnstntment or the Note without the
tro-si er's consent

ject to the provisions of Section 18. any Suclessor in interest of Borrower who assumes
Borrower's obligations under this Secarity instrument in writing, and is approved h Lender, shall obtain
all of Borrower's rights and beneiits under this Secutity lnstrument. Borrower s not be released from
Borrower's obligations and liability under this Security Instmment unless Lender a ees to such release in
writing The covenants and agreements of this Security instrument shall bind accept as provided in
Sectlon ZD) and benth the successors and assigns of Lender.

14. Loan Clmrges. Lender may charge Borrower fees for services performed ln connection Wilh
Borrower's default. for the purpose of protecting Lender’s interest in die roperty and rights under this
Security lmtrument. including. but not limited to, atmmeys' fees. g°t:§:|rty inspection and valuation fees.
In regard to any other fees, the absence of c)q)ress authority in this ly Inetnunent to charge a specific
fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender maynot charge
fees that are expressly prohibited by this Security instrument or by Applicable an.

V-SA(NM) tamm P¢g~ 11 at 13 Form 3032 1 lot

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 Page 12 Of 22

if the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted-so
that the interest or adler loan charges collected or to be collected in connection with the Loan exceed 'the
permitted limits, them (a) any audi loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted limit; and (b) any sums already collected from Borrower Which exceeded permitted
limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal
owed tmder the Note or by making a direct payment to Borrower. lf a refund reduces principal. the
reduction will be treated as a partial pr:lpayment without any prepayment charge (whether or not a
prepayment charge is provided for under e Note). Borrower's acceptance of any such refund made by
direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
of such overcharge.

15. Notices. All notices givrm by Borrower or Lender in connection with this Security Instrument
must he in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
have been given to Borrower when mailed by iirst class mail or when actually delivered to Borrower's
notice address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers
unless Applicable Law expressly requires otherwise. Tho notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notify Lender of Borrower's change of address. lf Lender specifies a procedure for reporting Borrower's
change of addressl then Borrower shall only report a change of address through that specified procedure
There ma be ordsylai|)ne designated notice address under this Security Instrument at any one time. Any
notice to nder l be given by delivering lt or by maiing it by first class mail to Lender‘s address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrument shall not be deemed to have been given to Lender until actually
received by Lender. If any notice required by this Security instrument is also required under Applicable
}.aw, the Appliurl)le l..aw requirement will satisfy the corresponding requirement under this Security
nstrument

16. Governing Law; Severability; Rules of Conmcdm. This Security Insu~ument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
obligations contained in this Security lnstrumeni are subject to any requirements and limitations of
applicable Law. Applicable Law might explicin or implicitly allow the parties to agree by contract or it

ght be silent, but such silence shall not be construed as a prohibition against agreement by oontraot. ln
the event that any provision or clause of this Securi lnstrument or the Note conflicts with A pllmble
Law. such conflict shall not affect other provisiom o this Security Instrument or tile Note which can be

given effect without the conflicting £;ovision.
As used in this Security Ins ment (a) words of the masculine gender shall mean and include

corresponding neuter words or words of the feminine gender; [b) words in the singular shall mean and
iglr;lude the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
e any action.
17. Borrower's Copy. Borrower shall be given one copy of the Note and of'this Security histmment.
.18. Transfer of the Property or a Bene§ciai Intereet in Borrower. As used in this Section 18.
"lnterest in the Property' means any legal or benehcial interest in the Property, including, but not limited
tol those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
escrow agreement the intent of which is the transfer of title by Borrower at a future'date to a purchaser.
lf all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender‘s prior
written consent, Lender may require immediate payment in full of all sums secured by this Security
histrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicahle Law.

V-BA(NM) (osro) nga 12 one Form 3032 1101

CaSe 18-10624-'[7 DOC 35-1 Fi|e_d 05/31/18 Entered 05/31/18 10244:34 Page 13 Q‘f‘22

lf Lender exercises this option. Lender shall give Borrower notice of acceleration The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sons seemed this Security instrument lt Borrower fails to gay
tltese sums prior to tire expiration of this period, der may invoke any remedies pertained by s
Security instrument without huther notice or demand on Borrower.

19. Borrower's night to Reinsrate Aner Acceieration. lt Borrower meets certain conditions.
Borrower shall have the right to have enforcement of this Security Iestrument discontinued at any time
prior to the earliest ol`: (a) live days before sale of the Property pursuaarto any power of sale contained in
this Secttt‘ity lnsuttmenti (b) such other period as Appllcdrle l.aw might specify i'or the termination of
Bormwer's right to reinstate; or (c) entry of a judgment enforcing this Security Instruritent. 'l`irose
conditions are that Borrower: (a) pays Lender ali sums which then would be due under this Security
Instrumeni and the Note as ii’ no acceleration had occurred; (b) cities any default oi’ any other covenants or
agreements', (c) pays all expenses inclined in enforcing this Securlty lostrument. including, but not limited
to. reasonable aitorneys' fees. property inspection and valuation fees. and other fees incurred for the
purpose of protecting lender's interest in the Property and rights under this Sectu'tty Instrument; and (d)
takes such action as Lender may reasonably require to accrue that Lender’s interest in the Property and
rights under this Security Irurtrument, and Borrower’s obligation to pay the sums seemed by this Setnrrity
lnstrurnent. shall continue unchanged Lender may require that Borrower pay such reinstatement sums and
expenses in one or more of the following forms, as selected by Lender: (a) msh; (b) money order: (c)
certiiied check, bank checit, treasurer’s check or cashier's check, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality or entity', or (d) Electronic
Funds Transl`er. Upon reinstatement by Borrower. this Securi Instrt_unent and obligations secured hereby
shall remain fully effective as if no acceleration had occur . i-lowever, this right to reinstate shall not
apply in the case of acceleration under Section 18.

20. Sale of Note; Change ofLoan Scrvlcer; Notice ot' Grievance. Tlte Note or a partial interest in
the Note (together with this Security lrsuument) mn be sold one or more times without rior notice to
Borrower. A sale might result in a change in the entity (ltnowo as the "Loart Servtcer" that collects
Periodic Payments due under the Note and this Securlty Instrumeni and performs other mortgage loan
servicing obligations under the Note. this Security tnsu~ument, and Applicabie an. There also might be
one or more changes of the Loan Servicer correlated to a sale of the Note. lt` there is a change of the Loan
Sarvicer. Borrower will be given written notice of the chan e which will state the name and address of the
new Loan Servicer, the address to which payments shoul be made and any other information RESPA
requires in connection with a notice of transfer of servicing if the Note is sold and thereafter the bean is
serviced by a Loan Servlcer other titan the purchaser oi’ the Note. tire mortgage loan servicing obligations
to Borrower will remain with the l.oan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action las either an
individual litigant or the member of a ciass) that arises from the other p ’s actions pursuant to this
Security Instrumeot or that alleges that the other party has breached any prov on of, or any duty owed b
reason of, this Security lnstrument. until such Borrower or Lender has notified the other party (with suc
notice given in compliance with the requirements of Section 15) of such alleged breach end afforded the
other party hereto a reasonable period alter the giving of such notice to take corrective actioo. ll
Appiicabie Law provides a time period which must elapse before certain action can be takat. tirat time
period will be deemed to be reasonable for purposes of this paragraph The notice of acceleration and
opportunity to cure given to Borrower pursuant to Section 22 and lie notice oi’ acceleration given to

V-BA(NM) rem me rs er rs Form 3032 1/01

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entet’ed 05/31/18 10244:34 Page 14 Of 22

Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20.

21. Hamrdeus Suhstauoos. As used in this Section 21: (a) "Hazardous Subsiancer" are those
substances defined as toxic or hazardous substances pollutanis, or wastes by Environmental law and the
following sui>stances'b gasoline, kerosene, other flammable or wxic petroleum pmducts, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde and radioactive materials;
(b) “E,nvironmental Law" means federal laws and laws of the _)urhdiction where the Property is located that
relate to health, safety or environmental protection; (c) "Envimnmental Cimnup' includes any response
action. remedial aciion, or removal action, as delined in Enviroomentai Law', and (d) an "Environmantal
Condition" means a condition that can cause, contribute to, or otherwise trigger an Environmental
Cleanup.

Borrower shall not cause or permit the preeence, me. disposal, storage, or release of any Hazanious
Sul)stances. or threaten to release any Hazardous Suhstances,.on or in the Property. Borrower shall not do,
nor allow anyone else to do, anything affecting the i’roperty (a) that is in violation of any Environmentai
Law, (b) which creates an Bavironmental Condition, or (c) which. due to the presence, use. or release of a
Haz.ardoue Suhstanoe. creates a condition that adversely affects the value of the Property. The preceding
two sentences shall not apply to the presenoe, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including. but not limited to, hazardous substances in consumer producte).

Borrower shall promptly give Lender written notice ot (a) any investigation, claim, demand, lawsuit
or other action by any governmental or regulatory agency or private party lnvolvlng the Property and any
Hazartious Substance or Environmental Law of which Borrower has actual knowiedge, (b) any
Environmental Condition. including but not limited to, any spilling. leaidng, dtscharge, release or threat of
release of any Hazardous Suhstanoe, and (c) any condition earned by the presence, use or release of a
Hazardous Substauce which adversely affects the value of the Broperty. if Borrower learns, or is notified
by any governmental or regulatory authority, or any private party. that any removal or other remediation
of any Hamrdous Substnnce affecting the Property is necessary. Borrower shall promptly take ali necessary
remedial actions in accordance with Envlronmental Law. Nothlng herein shall create any obligation on
Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and~agree as follows:

21 Acoeleration; Remcdics. Lender shall give notice to Borrower prior to aweieration following
Borrower's breach of any covenant or agreement in this Seourity instrument (but not prior to
acceleration under Section 18 unless Applieable an provides otherwise). 'l`ho notice shall specify: (a)
the default; (b) the action required to cure the default; (c) a date, not less tban_30 days from the.date
the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
default on or before the date specified in the notice may result iu acceleration of the sums secured by
this Security Instnrment, foreclosure by judicial proceeding and sale of the Property. The notice
shall further inform Borrower of the right to reinstate after acceleration and the right to assert in the
foreclosure proceeding the non-etdstenoc of a default or any other defense of Borrower to
acceleration and foreclosure If the default is not ouer on or before the date specified in the notice,
Lender at its option may require immediate payment in full of ali sums secured by this Seourity
Instmment without further daoand and may foreclose this Security instrument by judicial
proceeding Lender shall be entitled to collect ali expenses incurred in pursuing -the remedies

V-BA(NM) tosio) hen 14 ar 16 Form 3032 1 ltlt

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 Page 15 Of 22

Case 18-10_6,24-t7

 

g§vided in this Section 22, including but not limited to, reae_able attorneys' fees and costs of title
enoe.

23. Releaso. Upun payment of all sums secured by this Security Instrument, Lender shall release this
Security histnm\ent. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for
releasing this Security Iastrument, but onl if the fee is paid to a third party for services rendered and the
charging of the fee is permitted under Ap table Law.

24. Redemption Period. ll this Securlty Instrument is foreclosed, the redemption period after judicial
sale shall be one month. `

BY SlGNING BELOW, Borrower acce ts and agrees to the terms and covenants contained in this
Security Instrument and in any Rlder execute by Borrower and recorded with it.

 

 

   

 

 

 

A. ANT|LLANES
rseai) (seal)
-Bnmwex -Borrawu
rsean qsean
-Borrcwer -Bormwer
, (sea)) fSeal)
~Burrower -Borrower
V-BA(NM) cn510) hon 15 of 16 Form 3032 1/01

DOC 35-1___ Filed 05/31/18 , Entered 05/31/18 10:44:34 Page¢_l€ of 22

 

STATB OF NB/v blanco , wm {l//D County ss:

This instrument was acknowledged before me on Q" l 70 7
by

MlKEA. SANTlLLANES AND DEBDRAH L. SANTILLANEB

My Commission Expires: M

CMLS£AL

' "` wl sTQ LE¥
"` lt ONNlE M.
. ‘_ l '- ETWM:%M
l'. m who n

 

V-SA(NM) toszo> mo 16 w 16 Form 3032 1101

ease 13-10624-t7 Do_c_35-1_._ Filed 05/31/_13__, 1 _Emered 05/31/13 10:44:34 Pag_e__l? of 22

n ,. -_

LOAN NO.: _ NOTE M“él!'lNS Phr.lne! 1~888-879-63 ilVT

SE:'TE`MBER 14, 200? ALBURQUERQUE NEW MEX|CO
|Dalel ICi|yl lSlatol

5215 SWEETWATE? DRIVE NW, ALBUQUERQUE, NM 87120-
lPruperty Adrlre.ssl

l. BORROWER' S PROMISE TO PAY
In return i`or a loan thatl have received. I promise to pay U.S. $ 208,000.00 (thts amount is called "Principal").
plus interest, to the order of the Lender. The Lender is

PLAZA HDMEMORTGAGE. lNC.

l will make all payments under this Note in the form of cash. check or money order.
I understand that the Lender may transfer this Note. The Lender or anyorte who takes this Note |)y transfer and who is
entitled to receive payments under this Note is called the "Note l'{older."

2. lNTEREST

interest will be charged on unpaid principal until the full amount of Prlncipal has been paid. l will pay interest at a yearly
rate of 6.750 %.

The interest rate required by this Section 2 is the rate l will pay both before and alter any default described in Section li(B)
of this Note.

3. PA\’MENTS

(A) Time and Plaee oi` Paymcots

l will pay principal and interest by making a payment every monlh.

l will make my monthly payment on the lot day ol` each month beginning on NOVEI\)IBB'<. 200? . l will
make these payments every month until l have paid all of the principal and interest and any other charges described belowY that l
may owe under this Note. Each monthly payment will be applied as of its scheduled due dale and will be applied to interest
before l’rincipal. lf, on OCTOBER 01, 2037 , l still owe amounts under this Notel l will pay those amounts in full on
that date. which is called the "Maturity Dale."

l will make my monthly payments at PLAZA HoME MORTGAGE, lNc.
sooo snoREHAM PLAcE sTEzoe. san olEoo. ca 92122 or at a different place if required by the Note Holder.

(B) Amonnt of Mont.hly Paymcnts
My monthly payment will he in the amount ol`U.S. $ 1,349.08

4. BORROWER' S RIGHT TO PREPAY

l have the right to make payments oi` Principal at any time before they are due, A payment of Principal only is known as a
"Prepayrnent." When l make a Prepayrnent. l Will tell the Note Holder in writing that I am doing so. l may not designate a
payment as a Prepayment ill have not made all the monthly payments due linder the Note,

l may make a i`ull Prepayment or partial Prepayrnents without paying a Prepayment charge The Note Holder will use my
Prepayrnents to reduce the amount of Principal that l owe under this Note. However, the Note Holder may apply my
Prepayrnont to the accrued and unpaid interest on the Prepayment amount. before applying my Prepayrnent lo reduce the
Principal amount of the Note. if l make a partial Prepayment. there will be no changes in the due date or in the amount ol` my
monthly payment unless the Note Holder agrees in writing to those changes

MULTISTATE FIXED RATE NOTESlng|e Fami|y-Fannle Mae.-‘Freddie Mac UN!FORM |NSTRUM ENIT Forrrt 3200 'HD'l
\HSN lorene-t rage 1 or 3 LENnElr suFPoRT sYsTEMF-. lNc. outlaw tour ‘

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 WFF|CEin

5. LOAN CHARGES
ll a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or other

loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such loan charge
shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected from
me Which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the
Principal I owe under this Note or by making a direct payment to me. If a refund reduces Principal, the reduction will be treated
as a partial Prepayment.

6. BORROWER' S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments

ll the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days
after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be 5.000 % of
my overdue payment of principal and interest l will pay this late charge promptly but only once on each late payment

(B) Default
Ii` l do not pay the full amount of each monthly payment on the date it is due, I will be in default

(C) Notice of Default

If I am in default, the Note Holder may send me a Writteu notice telling me that if I do not pay the overdue amount by a
certain date, the Note Holder may require me to pay immediately the full amount of Principa] which has not been paid and all
the interest that l owe on that amount That date must be at least 30 days after the date on which the notice is mailed to me or
delivered by other means.

(D) No Waiver By Note Holder
Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as described

above, the Note Holder will still have the right to do so if I am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to
be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. Those
expenses include, for example, reasonable attorneys' fees.

7. GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if 1 give the Note
Holder a notice of my different address

Any notice that must be given to the Note Holder under this Note Will be given by delivering it or by mailing it by first
class mail to the Note Holder at the address stated in Section S(A) above or at a different address if I am given a notice of that
different address

S. OBLIGATIONS OF PERSONS UNDER THIS NOTE

lf more than one person signs this Note. each person is fully and personally obligated to keep all of the promises made in
this Note, including the promise to pay the full amount owed. Any person Who is a guarantor, surety or endorser of this Note is
also obligated to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety
or endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights
under this Note against each person individually or against all of us together. This means that any one of us may be required to
pay all of the amounts owed under this Note.

9. WAIVERS
l and any other person who has obligations trader this Note waive the rights of Presentment and Notice of Dishonor.

"Presentment“` means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means the
right to require the Note Holder to give notice to other persons that amounts due have not been paid.

V-5N (ozo?).oi rage z or 3 Form 3200 1101

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Enlered 05/31/18 10244:34 Page 19 Ol 22

10. UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions in addition to the protections given to the
Note Holder under this Note. a Mortgage, Deed of Tnist or Security Deed (the "Security Instrument"), dated the game date as
this Note , protects the Note Holder from possible losses which might result if l do not keep the promises Which l make in this
Note. That Security Instrument describes how and under what conditions l may be required to make immediate payment in full

of all amounts l owe under this Note. Some of those conditions are described as follows:

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
consent, Lender may require immediate payment in full of all sums secured by this Securily Instrument
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

lf Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance With Section 15
within which Borrower must pay all sums secured by this Security Instrument If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.

WI'I`NESS THE HAND(S) AND SEAL(S) OF THE UNDERSICNED.

    

 

 

  

 

 

 

 

 

 

(Seal) _ _ (Seal)
lKE A. ANTlLLANEs <:_> _Bm.wwe[ " . ' ""` Borrower
(Seal) (Seal)
-Borrower --Bonrower
[Seal) (Seal)
-Borrower -Borrower
(S€al) (Seal)
-Borrower ' . l -Borrower
- »_ .' y
ni- . 1 ' ‘1.#% '
._ ' a
1
\ ., ve

V-5N (ozo?).m Page 3 of 3 Form 3200 1101

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 Page 20 Of 22

PAY `lO ll'i£ ORDER OF

CountMc-) Home Loans, inc

 

PAv To THE oRoER oF_CBll“WWide Bank’ FSB REC°HRSE
w our REcouRK COUW“MDE WK- FSB
GARRET, opeaarroms AGER
PLAzA HoME MoRTGAGE, mc. ry w man
want MEDER
sailor vice PREstoENr
lNElUlSJHd :`lUl/l ZAl.l[lOElXEl
HHGNVTOFS Z`ElHOlW
OM ‘sttn 3on sam
H.lelOU
HSHHOGJH .LnoHiiM
30 HJGHO JHi 01 iva

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entered 05/31/18 10244:34 Page 21 Of 22

Doc #201803546? eRecorded 04124:2018 03:28:00 PM Page 1 ott
ASSN Rec Fee.' $25.00 Linda Stoiier. Bernaii|lo County

Recording Requested By.
NATIO'NSTAR MORTGAGE DBA MR. 000pr

Whan Recorded Raturi\ To.

DOCUMENT ADM'[N|STRAT|ON

NAT|ONSTAR MORTGAGE DBA MR COOPER
8950 CVPRESS WATERS BLVD

COPFELL. TX 75019

 

§QE£QBAIE.B§§¥_QBM£HI.QCMBLQ&§.E
Bornat.|tlo. thin Moiiieo
BELLER'S SERVlClNG l_ `SAN\'ILLANES'
HN l: _ 815 l: t-Bl»l-Gfl-$$f?

Dato ot Ass'igi'imerit April ch. 2018

Assignor. MORTGAGE ELEC‘I`RON|C REG|STRAT|ON S\‘STEMS. lNC._ AS NOM|NEE FOR PLAZA HOME

MDRTGAGE_ INC , if‘S SUCCESSORS AN.D ASS{GNB al P D BOX 2026, Ft.tNT M| 4851}1-2025

i;ise)¥noe' NATiONSTAR MORTGAGE LLC DtBi'A liiiR COOFER at 8950 CYPRES$ WnTEFtS BLVD , COPT-’ELL,
X 5019

Execi.ited By- MiKE n SANt'lLi.ANESAND DEBORAi-i L SANTiLLANES, HUSBAND AND wiFE To MORTGAGE
ELECTRON|C REGISTRATIONS SYSTEMS_ iNC.. ns NOMINEE FOR PLAZA HOME MORTGAGE, iNC.

Date ot Mottgage. 09114!200? Reoorded' 09!211200? as instn.in'ieni No 2007135144 in the Counry ot Betnatitto.
Stale of Now Me:iico

tiropeny Addtess' 6215 SWEETWATER DR|VE NW, ALEUOUERQUE. NM 87120

KNOW ALL MEN B‘i' THESE PRESENTS, that tor good and traiuabie consideration the receipt and sufficier ot
which is hereby adtnowledged, the said Assignor hereby assigns unto the above~named Asaignee. the said
Mortgage having an orignai principoi aunt ot 3208.000,00 with interest secured lt'iereby. and the lull benefited ali the
powers and ot ali the covenants and provisos therein contained and lite said Asaigrior hereby grants and conveys
unto the said Assignee, the Assigr\ofs interest under the Moi'lgage

TO HAVE AND TO HOLD the said Mongaga, ana the said property unto the said assignee toreiier, subject to the
terms contained in said Mongage.

MORTGAGE ELECTRON|C HEG|STRAT|ON £'i'\'STEMSA iNC._ AS NOM|NEE FOR FLAZA HOME MORTGAGE
|NC., I'i'S SUCCESSORS AND ASSIGNS
Ofi ARLLLH!J._ZD_T_B

BM
TS&DAL _ V resident

STATE OF Teito$
CO\JNI’Y OF Dal|aa

On Atin| Bli'i. 2018. delete me DANIELA I-lOR\i‘ATH. a Notary Pi.ibiic in and for Daitas in the State 0|' Tettas.
personally appeared TSEDA!,E ALEMU` Vioe-Presideiil, personalty known to motor proved to me on the basis ot
satisfactory evidence) to be the porsort(s) whose name[s] tsiare subscribed to the within instrument and
acknowledged to me that hetshetthe;i executed the same in hisiheri'ihevr authorized txa¢itir:i`t\.il and that by
nisihen‘ttteir signature on the instrument the person(s}. or the entity upon behall ot which the personts} acted.
executed the instrument

    
  
    

     

\\".‘L’?*»., Di\itiEt ¢'» -i Diivn' '-l
`."" riini.-v-"i-.iilic. S'iiie nl tend
tli')frttr\ [o.'iiit!¥ 01 ]‘T-?Q?U

n ttl\" `-totari -.f`i i.“;tti}?'i-i€iti

_._,..-»___'_ _'

Wi S y hand and official seal

    
  

 
 
     
    

 

gain-z 'h.»__\l m

 

DAN|E|.A t-|ORVATH
Notal\/ Expites 01£27»'2020 l128852890
(This area for noiarial sea|.‘i

CaSe 18-10624-'[7 DOC 35-1 Filed 05/31/18 Entei’ed 05/31/18 10244:34 F’E%|ZF|CEQ|Z|. C

